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IN THE UNITED STATES DISTRICT COURT F iL. E D
FOR THE DISTRICT OF COLUMBIA
FEB =- 4 2022

: Clerk, U.S. District ana
UNITED STATES OF AMERICA : Case No: 21-cr-240-BAH Bankruptcy Courts

40 U.S.C. § 5104(e)(2)(G)

LAWRENCE STACKHOUSE,

Defendant.

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant, |
Lawrence Earl STACKHOUSE, with the concurrence of his attorney, agree and stipulate to the
below factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial,
the parties stipulate that the United States could prove the below facts beyond a reasonable
doubt:

The Attack at the U.S. Capitol on January 6, 2021

lL: The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

Zi, On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.
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3. On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

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however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of law enforcement, as others in the
crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.
Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

STACKHOUSE?’s Participation in the January 6, 2021, Capitol Riot
8. On January 6, Stackhouse attended the “Stop the Steal” rally located near the U.S.
Capitol. Prior to the rally, Stackhouse texted with Rachel Myers and Michael Gianos regarding
his location as he was heading to the rally. On December 28, 2020 Stackhouse and Gianos
exchanged a series of text messages coordinating when they would go to Washington, D.C. prior
to January 6th. On the morning of January 6 Gianos texted Stackhouse a PDF attachment

entitled, “Guest-Instructions_March_to_Save_America_Rally_updated.pdf.

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9, On January 6, at approximately 2:22 p.m. Stackhouse entered the U.S. Capitol
through the Senate wing doors, along with Myers and Gianos close behind. Stackhouse, Myers,
and Gianos then traveled towards the Rotunda, which he entered at approximately 2:31 p.m. At
approximately 2:33 p.m. Stackhouse, Myers, and Gianos walked down a hallway in Speaker of
the House Nancy Pelosi’s office area. Stackhouse, Myers, and Gianos were in that area for
approximately one minute before leaving.

10. Later in the day on January 7, Stackhouse texted to Gianos: “don’t regret one
thing” and “fuck the government”.

11. On March 8, 2021, Stackhouse provided a voluntary interview with the FBI.
Stackhouse stated that he went inside the U.S. Capitol on January 6" and that he was wearing a
Proud Boys hoodie while at the U.S. Capitol, but that he is not a member of Proud Boys.
Stackhouse stated that Myers made his hotel reservation in Washington, D.C. for the night of

January 6", and that Myers went inside the U.S. Capitol with Stackhouse.

12. The defendant knew at the time he entered the U.S. Capitol Building that that he did not

have permission to enter the building and the defendant paraded, demonstrated, or picketed.

Respectfully submitted,

MATTHEW GRAVES
Acting United States Attorney
D.C. Bar No. 481052

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April H. Ayers-Perez
Assistant United States Attorney

 

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DEFENDANT’S ACKNOWLEDGMENT

I, Lawrence Earl Stackhouse, have read this Statement of the Offense and have discussed
it with my attorney. I fully understand this Statement of the Offense. | agree and acknowledge
by my signature that this Statement of the Offense is true and accurate. [ do this voluntarily and
of my own free will. No threats have been made to me nor am | under the influence of anything
that could impede my ability to understand this Is of the Offense fully.

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L nce Ear! Stackhouse
Defendant

ATTORNEY'S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. 1
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: _ 1/17/2022 Ubong €. Akpan

 

Ubong Akpan
Attomey for Defendant
